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CO-386»0nline
10)’03
United States District Court
For the Dlstrlct of Columbia
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GanohananJBLLC )
)
. . )
vs Plam“ff } Civil Action N@.
)
The CHndmiFoundann,eta| §
)
Defendant )
CER'I'IFICATE RULE R ";'.1
I, the undersigied, counsel of record for Gary John Byme’(GJB L|-C certify that to the best of my knowledge and
belief, the following are parent companies, subsidiaries or affiliates of GJB |-LC which have

 

any outstanding securities in the hands of the public:
NONE.

These representations are made in order thatjudges of this court may determine the need for recusal.

A yof ’f.: d

 

 

 

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